                              UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF ARIZONA
                                         4 DIVISION

 In re:                                                         Case No. 16-bk-04438-SHG
          STACIE LYNN CAIN

                      Debtor(s)


           CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Dianne Crandell Kerns, chapter 13 trustee, submits the following Final Report and Account of
 the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


          1) The case was filed on 04/22/2016.

          2) The plan was confirmed on 09/26/2016.

          3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 NA .

          4) The trustee filed action to remedy default by the debtor in performance under the plan on
 NA .

          5) The case was completed on 10/18/2018.

          6) Number of months from filing to last payment: 30.

          7) Number of months case was pending: 36.

          8) Total value of assets abandoned by court order: NA .

          9) Total value of assets exempted: $21,062.18.

          10) Amount of unsecured claims discharged without payment: $5,663.00.

          11) All checks distributed by the trustee relating to this case have cleared the bank .



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 Receipts:

            Total paid by or on behalf of the debtor            $19,965.51
            Less amount refunded to debtor                       $1,149.96

 NET RECEIPTS:                                                                                  $18,815.55


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                 $3,000.00
     Court Costs                                                               $0.00
     Trustee Expenses & Compensation                                       $1,391.86
     Other                                                                     $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $4,391.86

 Attorney fees paid and disclosed by debtor:                  $1,000.00


 Scheduled Creditors:
 Creditor                                          Claim       Claim           Claim      Principal    Int.
 Name                                  Class     Scheduled    Asserted        Allowed       Paid       Paid
 ACS/US BANK NAT L/BHEA            Unsecured            NA           NA             NA          0.00      0.00
 AES/CHASE                         Unsecured            NA           NA             NA          0.00      0.00
 AES/CHASE BANK                    Unsecured       5,449.00          NA             NA          0.00      0.00
 CAPIT AL ONE                      Unsecured            NA           NA             NA          0.00      0.00
 CAPIT AL ONE BANK USA N           Unsecured            NA           NA             NA          0.00      0.00
 CHILDRENS PLACE/CBNA              Unsecured            NA           NA             NA          0.00      0.00
 CHILDRENS PLACE/CIT ICORP CRED    Unsecured            NA           NA             NA          0.00      0.00
 CLERK OF T HE COURT               Unsecured            NA      4,903.95       4,903.95     4,903.95      0.00
 COMENIT Y BANK/VCT RSSEC          Unsecured            NA           NA             NA          0.00      0.00
 EMERGENCY MED ASSO                Unsecured         214.00          NA             NA          0.00      0.00
 GEN BUSINESS RECOVERIE            Unsecured            NA           NA             NA          0.00      0.00
 GUZ BRUEN LAW GROUP, PLLC         Unsecured            NA           NA             NA          0.00      0.00
 HSBC BANK USA, NA                 Unsecured            NA           NA             NA          0.00      0.00
 JPM CHASE                         Unsecured            NA           NA             NA          0.00      0.00
 LVNV FUNDING LLC                  Unsecured            NA           NA             NA          0.00      0.00
 LVNV FUNDING LLC                  Unsecured         322.00       354.82         354.82       354.82      0.00
 MERIWEST CREDIT UNION             Unsecured            NA           NA             NA          0.00      0.00
 NELNET LOAN SERVICES              Unsecured            NA           NA             NA          0.00      0.00
 PIMA COUNT Y CONSOLIDAT ED JU     Unsecured            NA           NA             NA          0.00      0.00
 QUANT UM3 GROUP LLC AS AGENT      Unsecured       1,221.00       781.73         781.73       781.73      0.00
 ST EPHEN MARK T REZZA             Unsecured            NA           NA             NA          0.00      0.00
 SYNCB/OLD NAVY                    Unsecured            NA           NA             NA          0.00      0.00
 SYNCHRONY BANK/ OLD NAVY          Unsecured            NA           NA             NA          0.00      0.00
 USAF                              Unsecured       1,162.00     1,612.74       1,612.74     1,612.74      0.00
 WELLS FARGO DEALER SERVICES       Secured        14,750.00    14,559.94       5,907.53     5,907.53    862.92
 WFDS/WDS                          Unsecured            NA           NA             NA          0.00      0.00




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  Summary of Disbursements to Creditors:
                                                                  Claim          Principal           Interest
                                                               Allowed               Paid               Paid
  Secured Payments:
        Mortgage Ongoing                                        $0.00              $0.00              $0.00
        Mortgage Arrearage                                      $0.00              $0.00              $0.00
        Debt Secured by Vehicle                             $5,907.53          $5,907.53            $862.92
        All Other Secured                                       $0.00              $0.00              $0.00
  TOTAL SECURED:                                            $5,907.53          $5,907.53            $862.92

  Priority Unsecured Payments:
          Domestic Support Arrearage                             $0.00              $0.00              $0.00
          Domestic Support Ongoing                               $0.00              $0.00              $0.00
          All Other Priority                                     $0.00              $0.00              $0.00
  TOTAL PRIORITY:                                                $0.00              $0.00              $0.00

  GENERAL UNSECURED PAYMENTS:                               $7,653.24          $7,653.24               $0.00

 Disbursements:

          Expenses of Administration                              $4,391.86
          Disbursements to Creditors                             $14,423.69

 TOTAL DISBURSEMENTS :                                                                        $18,815.55


         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
 estate has been fully administered, the foregoing summary is true and complete, and all administrative
 matters for which the trustee is responsible have been completed. The trustee requests a final decree be
 entered that discharges the trustee and grants such other relief as may be just and proper.

 Dated: 04/23/2019
                                                By: /s/ Dianne Crandell Kerns
                                                                         Trustee
 STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
 exemption 5 C.F.R. § 1320.4(a)(2) applies.




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